                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
Plaintiff,                                   )
                                             )
          v.                                 )     Case No. 20-00185-CR-W-HFS
ANDREW B. NEWMAN                             )
                                             )
Defendant.                                   )

                                            ORDER

        At a Change of Plea Hearing held on October 5, 2021, defendant appeared before

Magistrate Judge W. Brian Gaddy, pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(b)(1)(j), and 28

U.S.C. § 636, and entered a plea of guilty to Count One of the Indictment for conspiracy to

distribute a controlled substance – methamphetamine (actual) in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A), and 846 and to Count Two of the Indictment for distribution of a controlled

substance – methamphetamine (actual) in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A).

        In a Report and Recommendation dated October 6, 2021, Judge Gaddy determined that the

guilty plea was knowledgeable and voluntary and that the offense charged was supported by an

independent basis in fact containing each of the essential elements of such offense.

        After review of the hearing record (and in the absence of objections) I ADOPT the Report

and Recommendation (Doc. 35) and ACCEPT defendant’s guilty plea and direct the Clerk to enter

it. A Presentence Investigation Report shall be filed within 120 days.


                                                     /s/ Howard F. Sachs
                                                     HOWARD F. SACHS
                                                     United States District Judge
October 25, 2021
Kansas City, Missouri



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